92 F.3d 27
    In re 183 LORRAINE STREET ASSOCIATES, Debtor.  (Two Cases)FRENCH BOUREKAS INC., Joseph Fischer, Plaintiffs-Appellants,Kin Chi Plumbing &amp; Heating Corp., 183 Holding Corp., Plaintiffs,v.UNITED CAPITAL CORP., Defendant-Appellee.UNITED CAPITAL CORP., fka Metropolitan ConsolidatedIndustries, Inc., ak Attilio F. Petrocelli,Plaintiff-Appellee,v.183 LORRAINE STREET ASSOCIATES, Irving Goldstein, Joseph K.Nathanson, City of New York, and the People of theState of New York, Defendants-Appellees,French Bourekas Inc., Defendant-Appellant,Joseph Fischer, Creditor-Appellant.
    Nos. 95-5094, 95-5101.
    United States Court of Appeals,Second Circuit.
    July 11, 1996.
    
      Before: KEARSE, WINTER, and CALABRESI, Circuit Judges.
    
    ORDER AWARDING COSTS AND DAMAGES
    
      1
      This Court having entered orders in the above-captioned appeals on May 29, 1996, (a) affirming the challenged decisions of the district court, (b) finding the arguments made by appellants in both appeals to be frivolous for the reasons stated in the respective orders, and (c) ordering the appellants in each appeal and Gerard Zwirn, the attorney for appellant French Bourekas Inc., to show cause why they, jointly and severally, should not be required pursuant to Fed.R.App.P. 38 to pay United Capital Corp.  (defendant-appellee in No. 95-5094;  a plaintiff-appellee in No. 95-5101) just damages in the total amount of $5,000 for the two appeals, plus double costs with respect to each appeal,
    
    
      2
      And appellants having filed responses that fail to show either that the above appeals were not frivolous or good reason why appellants should not be required to pay damages and costs to appellee United Capital Corp.,
    
    
      3
      And Gerard Zwirn, the attorney for appellant French Bourekas Inc., having failed to file any individual response to the orders to show cause,
    
    
      4
      IT IS HEREBY ORDERED AND ADJUDGED by the Court that appellant French Bourekas Inc., its attorney Gerard Zwirn, and appellant Joseph Fischer, shall, with respect to the appeals in Nos. 95-5094 and 95-5101, pay appellee United Capital Corp. damages in the total amount of $5,000, and shall pay appellee United Capital Corp. double costs with respect to each appeal.  Liability for such damages and costs shall be joint and several.
    
    